 Case: 1:14-cr-00287 Document #: 276 Filed: 10/02/18 Page 1 of 1 PageID #:1074

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:14−cr−00287
                                                       Honorable Charles R. Norgle Sr.
Robert D Lattas, et al.
                                        Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, October 2, 2018:


       MINUTE entry before the Honorable Charles R. Norgle as to Robert D Lattas:
Sentencing held on 10/2/2018. Mailed notice (ewf, )




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